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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig        *                 MDL No. 2179
       “Deepwater Horizon” in the Gulf *
       of Mexico, on April 20, 2010    *
                                       *                 Section: J
                                       *
                                       *                 Judge Carl J. Barbier
                                       *
                                       *                 Magistrate Judge Sally Shushan
                                       *


                                       ORDER
   [Granting the Unopposed Motion to Lift the Preliminary Injunction Related to BEL
   Claims for the Sole and Limited Purpose of Paying Settlement Proceeds to Claimant
                                    BookIt.com, Inc.]

       Now before the Court is the Unopposed Motion to Lift the Preliminary Injunction

Related to BEL Claims for the Sole and Limited Purpose of Paying Settlement Proceeds to

Claimant BookIt.com, Inc.

       The Court makes the following findings:

       1.     Claimant, BookIt.com, Inc. (“Claimant”) submitted a Business Economic Loss

claim to the Deepwater Horizon Claims Center on June 5, 2012.

       2.     The Claims Administrator reviewed Claimant’s claim in accordance with the

Deepwater Horizon Economic and Property Damages Settlement Agreement (“Settlement

Agreement”) and issued an Eligibility Notice for Claimant’s claim providing for total

compensation due to Claimant in the amount of $6,111,412.42.

       3.     BP appealed the Eligibility Notice and asserted arguments that Claimant should

have been classified as a multi-facility business and any revenue and expenses attributable to

“facilities” outside of the Economic Compensation Zone should have been excluded from the
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Business Economic Loss calculation. BP’s appeal did not include any allegation that Claimant’s

claim raised the issues of matching expenses and revenue or causation.

       4.      After each party submitted Initial Proposals and Final Proposals, the Appeals

Panel remanded the claim to the Claims Administrator on August 22, 2013 raising only the issue

of whether Claimant was a multi-facility business as defined by the Settlement Agreement.

       5.      On December 5, 2013, this Court issued its Order Amending Preliminary

Injunction Related to BEL Claims ordering that “[t]he Claims Administrator may continue to

accept BEL claims and process said claims, but shall temporarily suspend the issuance of final

determination notices and payments of BEL claims, pending resolution of the BEL issues that

are the subject of the pending remand.” [Doc. 11928].

       6.      On January 7, 2014, Daniel Cantor, Counsel for BP, notified the Appeals

Coordinator via email that BP was withdrawing its appeal of Claimant’s claim, without any

admission or waiver of any rights.

       7.      On January 8, 2014, Mr. Cantor notified the Appeals Coordinator and Claimant’s

Counsel that BP does not object to this Court lifting its Preliminary Injunction Related to BEL

Claims for the sole and limited purpose of allowing the Claims Administrator to finalize its claim

processing and issue payment to Claimant, Bookit.com, Inc., on Claimant’s May 28, 2013

Eligibility Notice.

       Accordingly, the foregoing Motion is GRANTED AND IT IS HEREBY ORDERED

       AND DECLARED THAT:

       1.      The Preliminary Injunction is temporarily lifted for the sole and limited purpose

of paying settlement proceeds to Claimant BookIt.com, Inc., in the amount of Claimant’s May

28, 2013 Eligibility Notice.
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       2.      The settlement of Claimant’s claim for the Award Amount is approved as fair,

reasonable and adequate.

       3.      The Claims Administrator shall distribute such funds in accordance with

applicable state law.

       4.      This Court lifting its Preliminary Injunction Related to BEL Claims is solely for

the limited purpose of allowing the Claims Administrator to finalize its processing of Claimant’s

claim and issue payment on Claimant’s May 28, 2013 Eligibility Notice.

       New Orleans, Louisiana, this ___day of ___________, 2014.


                                                    _________________________
                                                    CARL J. BARBIER
                                                    United States District Court
